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 4   Attorney for Defendant
     FRANK ALIOTO
 5

 6                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,                       ) No. CR-S-11-190 MCE
 9                                                   )
                                                     )
10          Plaintiff,                               ) STIPULATION AND ORDER EXTENDING
                                                     ) TIME TO POST POST PROPERTY BOND
11   v.                                              )
                                                     )
12                                                   )
     FRANK ALIOTO,
                                                     )
13                                                   )
            Defendant.                               )
14                                                   )
                                                     )
15                                                   )
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17
            On May 2, 2012, the Honorable Kendall J. Newman ordered defendant Frank Alioto
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     released on a $250,000.00 unsecured bond, co-signed by the defendant’s mother, Joan Alioto, to
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     be replaced by a secured bond, secured by the real property owned by Mrs. Alioto, within two
20
     weeks. On May 23, 2012 a stipulation and proposed order was filed and approved to extend the
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     due date of the filing to May 30, 2012. On June 1, 2012 another stipulation and proposed order
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     was filed and approved to extend the due date of the filing to June 13, 2012. Subsequently, via
23
     stipulation, the "due date" was extended to June 27, 2012, August 1, 2012, August 31, 2012, and
24
     October 5, 2012. (The Defense apologizes for the tardy filing of this stipulation.)
25
            The bond documents from the Surety have been provided to the Government. The
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     Government needs additional time to review the documents. Once the documents are approved
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     the defense will need time to have the deed recorded and file the bond.
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 1          Accordingly the parties agree the deadline for posting the property bond may be extended
 2   to November 9, 2012. This office has contacted Jason Hitt of the U.S. Attorney’s Office, and he
 3   has no objection to this request.
 4

 5   Dated: October 8, 2012                               /s/ John R. Manning
                                                          JOHN R. MANNING
 6                                                        Attorney for Defendant
                                                          Frank Alioto
 7

 8

 9   Dated: October 8, 2012                               Benjamin B. Wagner
10
                                                          United States Attorney

11
                                                          by: /s/ Jason Hitt
12                                                        JASON HITT
13
                                                          Assistant United States Attorney

14
            For good cause appearing, the due date for posting of a secured property bond in this
15
     matter shall be continued to November 9, 2012.
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            IT IS SO ORDERED.
17
     Dated: October 9, 2012
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